Case 1:18-cv-23939-CMA Document 1-1 Entered on FLSD Docket 09/24/2018 Page 1 of 6




                               EXHIBIT A
    Case 1:18-cv-23939-CMA Document 1-1 Entered on FLSD Docket 09/24/2018 Page 2 of 6

Filing# 75551199 E-Filed 07/26/2018 12:36:39 PM


                 IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                         IN AND FOR MIAMI-DADE COUNTY, FLORIDA


        JANE DOE,                                           GENERAL JURISDICTION DIVISION

                       Plaintiff,                           CASE NO. 2018-021364 CA (22)

        vs.

        UNIVERSITY OF MIAMI, a Florida
        not for profit corporation,

                       Defendant.
        - - - - - - - - - - - - - -I
                              DEFENDANT'S REQUEST FOR ADMISSIONS
                       Pursuant to Fla. R. Civ. P. 1.380, Defendant, University of Miami, hereby requests

        that Plaintiff, Enrique Bradfield, respond to Defendant's requests for admission, attached hereto.

        Unless a written objection is served, each request for admission must be denied within the time

        prescribed by the Florida Rules of Civil Procedure, or it will be deemed admitted.


                                                     Respectfully submitted,


                                                     ISICOFF RAGATZ
                                                     601 Brickell Key Drive
                                                     Suite 750
                                                     Miami, Florida 33131
                                                     Tel.: (305) 373-3232
                                                     Fax: (305) 373-3233

                                                     By: Isl Teresa Ragatz
                                                             Eric D. Isicoff
                                                             Florida Bar No. 372201
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                                                             Teresa Ragatz
                                                             Florida Bar No. 545170
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Case 1:18-cv-23939-CMA Document 1-1 Entered on FLSD Docket 09/24/2018 Page 3 of 6




                                 DEFINITIONS AND INSTRUCTIONS

   a)        The terms "Defendant" or "University" refer to University of Miami and its officers,

   directors, shareholders, employees, and agents.

   b)        The terms "Plaintiff," "Doe," "you," and "your" refer to Jane Doe, the plaintiff in this

   action.

                                    REQUESTS FOR ADMISSIONS


   1.        Admit that, as of June 22, 2018, you were a resident of the State of Pennsylvania.

   2.        Admit that you turned eighteen (18) years of age on July 22, 2014.

   3.        Admit that, on July 5, 2014, when you allege you went to several local establishments in

   Coconut Grove and consumed alcohol, you were aware that you were under the legal drinking age.

   4.        Admit that, on July 5, 2014, when you allege you went to several local establishments in

   Coconut Grove, none of the establishments in which you consumed alcohol were owned or

   operated by the University of Miami.

   5.        Admit that you graduated from the University of Miami in May 2018.

   6.        Admit that, when you returned to Pearson Dormitory after consuming alcohol on July 5,

   2014, you were riding piggy back on the back of one of the individuals whom you allege sexually

   assaulted or raped you.

   7.        Admit that, when you returned to Pearson Dormitory after consuming alcohol on July 5,

   2014, the person sitting at the desk who checked you in required you to stand and walk up and

   down the hallway.

   8.        Admit that you seek monetary damages in excess of Seventy-Five Thousand Dollars

   ($75,000.00).




                                                      3
Case 1:18-cv-23939-CMA Document 1-1 Entered on FLSD Docket 09/24/2018 Page 4 of 6




                                     CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that a true and correct copy of the foregoing was served via

   facsimile and the Florida Court's e-Filing Portal this 26th day of July, 2018, upon the following:


   The Law Firm of Stuart H. Share, P.A.
   Stuart Share, Esq.
   777 Brickell Avenue, Suite 400
   Miami, Florida 33131
   Stuart@sharelawpa.com

   Eversole & Associates, P.A.
   John F. Eversole III, Esq.
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   Miami, Florida 33131
   jfelaw@jeversole.com




                                                                By:    s/ Teresa Ragatz
                                                                       Teresa Ragatz




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     Case 1:18-cv-23939-CMA Document 1-1 Entered on FLSD Docket 09/24/2018 Page 5 of 6
Filing# 77099994 E-Filed 08/28/2018 11 :23:58 AM


                 IN THE CIRCUIT COURT OF THE 11 TH JUDICIAL CIRCUIT
                     IN AND FOR MIAMI-DADE COUNTY, FLORIDA

         JANE DOE,

               Plaintiff
         v.
         UNIVERSITY OF MIAMI, a Florida                       CIVIL DIVISION
         not for profit corporation,
                                                              CASE NO.:
               Defendant.
         - - - - - - - - - - - - - - -I


                       PLAINTIFF'S RESPONSE TO DEFENDANT'S
                             REQUEST FOR ADMISSIONS

              The Plaintiff, JANE DOE, by and through the undersigned counsel, hereby

        files her response to Defendant, UNIVERSITY OF MIAMI, a Florida not for

        profit corporation, Request for Admissions dated July 26 th , 2018, as follows:

              1. Admitted.

              2. Admitted.

              3. Admitted.

              4. Unknown.

              5. Admitted.

              6. Denied as phrased.

              7. Denied as phrased.

              8. Admitted.
Case 1:18-cv-23939-CMA Document 1-1 Entered on FLSD Docket 09/24/2018 Page 6 of 6




                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was

   electronically submitted on this 28 th day of August, 2018, to: Teresa Ragatz,

   Esquire, Eric D. Isicoff, Esquire and Christopher M. Yannuzzi, Esquire, ISICOFF

   RAGATZ,      601     Brickell     Avenue,    Suite    750,    Miami,      Florida

   3313 lragatz@irlaw.com; isicoff@irlaw.com; yannuzzi@irlaw.com.

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                                               By: /s/ John Eversole
                                                   JOHN EVERSOLE
                                                   Florida Bar No.: 371513




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